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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                Lafayette-Opelousas Division


IBERIA CREDIT BUREAU, INC. d/b/a     *
INFORMATION SERVICES, WARDELL X.     *
GERHARDT, AL THERIOT CONSTRUCTION, *
INC. ET AL.                          *              CIVIL ACTION
                                     *
VERSUS                               *              NO. CV01-2148
                                     *
CINGULAR WIRELESS, L.L.C., formerly  *              JUDGE LEMELLE
known as BELL SOUTH MOBILITY, ET AL. *
                                     *              MAG. JUDGE HANNA
                                     *
******************************




                              TELECORP’S POST-HEARING BRIEF
                          IN OPPOSITION TO CLASS CERTIFICATION




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             Telecorp Communications, Inc. d/b/a SunCom (“Telecorp”) submits this post-hearing

brief in response to the Court’s request for additional briefing on commonality, predominance

and typicality. Rec. Doc. No. 612 at 3. 1

I.           THE POSTURE OF PLAINTIFFS’ CLAIM

             Plaintiffs’ complaint is that Telecorp rounded up. Telecorp concedes it rounded up. The

question for each named plaintiff and purported class member is whether their particular contract

included a contractual promise to instead bill second-by-second; the primary question before the

Court is whether these claims can be resolved on a class-wide basis.

             Telecorp’s Terms and Conditions, which were included in brochure form in the phone

box received by all customers and provided and referenced in several other ways, 2 disclosed and

promised to all customers that minutes of use would be rounded up. Summary judgment based

on these disclosures and Telecorp’s contract materials has been denied, Rec. Doc. No. 612,

presumably based on the Court’s belief that there may be fact questions as to whether and/or

which of the named plaintiffs saw or should have seen such disclosures. 3 The denial of summary

judgment leaves open the question of what legal theory Plaintiffs are truly employing to

challenge rounding up.

             In theory, rounding up might be actionable if it were inherently unfair (regardless of any

disclosures or contract terms). However, as a matter of law Plaintiffs are barred from



1
  The Court clarified at oral argument that its call for further briefing on commonality also encompassed
the predominance element.
2
  For example, the terms and conditions were printed on the reverse side of a legal-size form contract
received by some customers at the point of sale; they were referenced in the Welcome Guide provided to
customers at the point of sale; they were referenced in rate plan materials that were provided to customers
at the point of sale (which were in turn incorporated by reference in the terms and conditions); they were
referenced in subscriber invoices; and they were available on Telecorp’s website. Rec. Doc. No. 542-2 at
13-15; Rec. Doc. No. 600-2 at 13-20.
3
  As explained in more detail below, the circumstances of each plaintiff’s activation, upgrade, or addition
of phone lines varied markedly.

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challenging the reasonableness of the practice, and the Court (and Plaintiffs themselves) have

acknowledged that state law challenges to the reasonableness of rounding up are preempted by

federal law and should be addressed, if at all, by the FCC. Rec. Doc. No. 431 (11/2/09 Order). 4

The FCC has approved of rounding up, rejecting a consumer’s argument that rounding up was

unreasonable or unfair, emphasizing this method of billing in whole minute increments is “the

most common billing practice.” In re Petition for Declaratory Ruling on Issues Contained in

Count I of White v. GTE Class Action Complaint, 16 F.C.C.R. 11558, ¶ 19 (2001). Thus, any

argument by Plaintiffs that rounding up is unfair is barred by the Court’s summary judgment

ruling, the FCC’s pronouncements, and the estoppel effect of their own prior statements.

             Therefore, rounding up can be actionable only if Telecorp (1) breached a contractual

obligation not to round up (for example, by promising to bill by the second), or (2) committed a

deceptive trade practice by failing to abide by some independent obligation to more prominently

disclose the billing practice of rounding up.

             Plaintiffs’ initial breach of contract claim (when Claudia Fontenot was the only named

plaintiff) alleged that Telecorp made oral contracts. Plaintiffs abandoned that theory once Ms.

Fontenot’s claims survived summary judgment and Plaintiffs were faced with the prospect of

trying to certify a class of customers with oral contracts. Now, as part of their bid to have a class

certified, Plaintiffs argue that Telecorp breached a written promise to bill by the second. This

requires finding a written promise that minutes would not be rounded up. No such contract term

exists. (As discussed more fully below, declarations from the class representatives that they

“understood” calls would be measured in seconds are irrelevant to an inquiry into what the

contract actually promises.)

4
  Though plaintiffs alleged a claim for unfair trade practices (i.e., a consumer protection violation) under
the Louisiana Unfair Trade Practices Act (“LUTPA”), claims under that statute cannot be certified as
class actions. Plaintiffs’ individual LUTPA claims remain in the lawsuit.

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             Plaintiffs vainly attempt to infer such a promise from handwritten shorthand on the front

of two different documents. One is a single sheet, front-and-back, long-form contract which was

intermittently used by Telecorp (in the one example provided to the Court, the handwritten

notation “Cities 100” constitutes the alleged promise not to round up). The other document is in

no sense a “contract,” but in any event contains nothing other than a handwritten notation, “Loc.

300,” referencing a rate plan. Plaintiffs’ argument requires an assumption that different

handwritten notations on each customer’s contract (e.g., the ambiguous reference to the “Cities

100” rate plan) constitute promises to bill airtime in one-second increments rather than in full

minute increments. This assumption is contradicted not only by the contract terms themselves

but also by the rate plan brochures, which describe the referenced rate plans. Such brochures

clearly describe the practice of rounding up, are expressly incorporated on the front-side of the

form contract received by some (but not all) customers, and are acknowledged by each customer

who signed the form contract in clear language above the signature line. 5 They are necessarily

part of the contract as they are the only place where the number of minutes and other features

provided in each plan are explained. The handwritten scrawl “Cities 100” or “Loc. 300” does

not explain, without looking at the relevant rate plan brochure, which cities were included in the

coverage area, how many minutes a customer got for free on nights and weekends, under what

terms a customer would receive 1,000 free minutes of incoming calls, when a customer was free

of long distance charges, that Caller ID, Call Waiting and Voicemail were included for free, or

under what conditions calls to other SunCom customers would or would not count against a

customer’s minutes. See, e.g., Rec. Doc. No. 546-6 (Service Plans and Coverage Areas


5
 “As it has been uniformly held” in Louisiana, language incorporated by reference into a contract from
another document “become[s] a part of the agreement between the parties with the same force and effect
as if the provisions had been contained in the basic contract . . . .” Action Fin. Corp. v. Nichols, 180 So.
2d 81, 83 (La. App. 2 Cir. 1965).

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brochure), 546-10 (brochure for add-on services). The relevant rate plan brochure necessarily

was part of each contract.

             These infirmities in the breach of contract claim may explain why Plaintiffs seemed to

take yet another approach in their supplemental brief in support of class certification, focusing on

the alleged inadequacy of some of the rounding up disclosures, and the alleged “understanding”

of a few of the named plaintiffs (evidenced via cookie-cutter declarations) that they would be

billed by the second rather than the minute.

             This legal theory, of alleged inadequate disclosure and an “understanding” about billing

practices, could theoretically state a claim of unfair trade practices under the LUTPA. (Indeed,

Plaintiffs’ Complaint alleges a violation of the LUTPA.) But Louisiana law permits LUTPA

claims to proceed only on an individual basis. Plaintiffs are thus attempting to shoehorn a

LUTPA claim into a breach of contract framework. To allow this would be to wholly frustrate

Louisiana policy.

             Moreover, in a claim for breach of contract it is irrelevant if some of the named plaintiffs

did not read the contracts or Terms and Conditions, because in Louisiana “[a] party to a contract

cannot avoid its obligations by contending that he did not read it or he did not fully understand

it.” Mobil Exploration & Producing U.S. Inc. v. Certain Underwriters Subscribing to Cover

Note 95-3317(A), 2001-2219 (La. App. 1 Cir. 11/20/02), 837 So. 2d 11, 24-25 (enforcing

contract despite one party’s argument that it had not read the other party’s substantive changes

before assenting: the “doctrine of unilateral error cannot save a party from the consequences of

an otherwise valid contract when that error is the result of simple negligence”). Courts have also

enforced the terms on the reverse side of a contract, holding that a party did not have to indicate

it read both sides of the document in order to be bound. City of Shreveport v. SGB Architects,



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 L.L.P., 45,458 (La. App. 2 Cir. 9/22/10), 47 So. 3d 1105, 1108 (“a person who signs a written

 instrument is presumed to know its contents and cannot avoid its obligations by contending that

 he did not read it, or that it was not explained or that he did not understand its terms”). 6

              Plaintiffs have shifted their argument yet again in their Motion for Reconsideration of the

 Court’s Order compelling arbitration, filed two days before the deadline for post-hearing briefs.

 Rec. Doc. No. 626-1 at 2. In this new motion, Plaintiffs argue that Telecorp had a right to

 arbitrate with Claudia Fontenot after she upgraded her rate plan and then allegedly “received a

 new contract with the new arbitration agreement” during her service, but that Telecorp waived

 this right by failing to assert it. The evidence Plaintiffs submit is a computer notation made by a

 customer service representative indicating that Ms. Fontenot changed from one rate plan to

 another (but not specifically showing she received the Terms and Conditions). Rec. Doc. No.

 626-1, Ex. 5 at 13. Putting aside the problems with the Motion for Reconsideration, it is

 remarkable that Plaintiffs are now insisting, after nine years of firm denials that Ms. Fontenot

 received anything in writing from Telecorp describing her contract terms, that Ms. Fontenot not

 only did receive the Terms and Conditions, but that she was also bound by the arbitration clause

 contained in the Terms and Conditions. This about-face is a significant admission by Plaintiffs

 that Telecorp’s method of contracting and its method of distributing binding Terms and

 Conditions to its customers were valid, and would bind every class member to the contract terms,

 including the disclosures regarding rounding up.




 6
  See also Bogalusa Cmty. Med. Ctr. v. Batiste, 603 So. 2d 183, 186 (La. App. 1 Cir. 1992) (rejecting
 argument that contract did not obligate party because she did not understand its terms); Green v.
 Culpepper, 26,393 (La. App. 2 Cir. 3/1/95), 652 So. 2d 138, 142 (affirming enforceability of contract
 because a “burdensome obligation in a contract may not be avoided simply because the obligor did not
 understand the amount or extent of his obligation”) (citing Bank of Coushatta v. Patrick, 503 So. 2d 1061
 (La. App. 2 Cir. 1987)); Hymel v. Eagle, Inc., 08-1287 (La. App. 4 Cir. 3/18/09), 7 So. 3d 1249, 1257-58.

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              These maneuvers demonstrate that Plaintiffs are out of options and are left with a claim

 that cannot be certified as a class. There is no dispute that the Terms and Conditions packed in

 all phone boxes promised Telecorp would round up. There is no dispute that the two-sided

 contract received by some customers promised Telecorp would round up. There is no dispute

 that rate plans promised Telecorp would round up. There is no dispute that there is no written

 promise in any of the documents to bill by the second. Therefore the question for resolution by

 the fact-finder at trial would be whether other, currently unspecified, promises were somehow

 made (whether orally, via some ambiguity in the documents, or by some other unknown

 document) that would override the written contract terms promising rounding up and instead

 contractually obligate Telecorp to bill in one-second increments. The question before the Court

 now, at the class certification stage, is whether the Court can try these issues (among others)

 solely on the evidence of the named plaintiffs’ experiences. In other words, were the contractual

 formation experiences of the named plaintiffs common to the class, were those experiences

 typical of absent class members, or would individual issues of the named plaintiffs and absent

 class members predominate at trial. The answers to these questions demonstrate the futility of

 class certification. Plaintiffs may be entitled to pursue individual breach of contract (or LUTPA)

 claims, but they cannot pursue those claims as a class.

 II.          FURTHER ANALYSIS OF COMMONALITY, PREDOMINANCE AND
              TYPICALITY DEMONSTRATES THAT CLASS CERTIFICATION IS
              UNWARRANTED

              A.     The Court Must Conduct a Rigorous Analysis of Commonality and
                     Predominance and Cannot Assume the Pleadings Are True

              The commonality requirement of Rule 23(a) and the predominance requirement of Rule

 23(b)(3) are intertwined and “test[] whether proposed classes are sufficiently cohesive to warrant

 adjudication by representation.” Amchem Prods, Inc. v. Windsor, 521 U.S. 591, 623 (1997). The


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 predominance inquiry, although similar to commonality, is “far more demanding.” Id. at 623-24.

 The requirements of 23(b) pose more rigorous tests than 23(a) and require a realistic analysis of

 “how the plaintiffs’ . . . claims would be tried, individually or on a class basis.” Castano v. Am.

 Tobacco Co., 84 F.3d 734, 744 (5th Cir. 1996).

              Here, the terms and content of the contract are in dispute. Moreover, whether a plaintiff

 consented to certain terms — a critical part of the Aguillard 7 inquiry into the validity of contracts

 of adhesion — is also in dispute and depends on each individual subscriber’s factual

 circumstances. Thus, the Court must analyze how such issues would be tried. “Whether

 common issues predominate and whether the class action is a superior method to resolve the

 controversy requires an understanding of the relevant claims, defenses, facts, and substantive law

 presented in the case.” In re Katrina Canal Breaches Consol. Litig., 258 F.R.D. 128, 132 (E.D.

 La. 2009) (quoting Steering Committee v. Exxon Mobil Corp., 461 F.3d 598, 601 (5th Cir.

 2006)). “Going beyond the pleadings is necessary, as a court must understand the claims,

 defenses, relevant facts, and applicable substantive law in order to make a meaningful

 determination of the certification issues.” Castano, 84 F.3d at 744; accord Dukes v. Wal-Mart

 Stores, Inc., 603 F.3d 571, 594, 598-99 (9th Cir. 2010) (holding that a court “must conduct a

 rigorous analysis to determine if the prerequisites of Rule 23 have been met” and must look

 “well beyond the pleadings” and not assume the plaintiffs’ substantive allegations are true)

 (emphasis in original), cert. granted, 79 U.S.L.W. 3342, 2010 WL 3358931 (U.S. Dec. 6, 2010).

 Thus, it is not enough for Plaintiffs to argue that “rounding up” or “consent” are common

 issues. 8 Rather, Plaintiffs bear the burden of demonstrating, via a rigorous analysis, that


 7
  Aguillard v. Auction Mgmt. Corp., 2004-2804 (La. 6/29/05), 908 So. 2d 1.
 8
   The fact that Telecorp’s practice of rounding up is admittedly common to all of its customers does not
 resolve whether common issues predominate over individual issues for purposes of class certification.
 The question is not whether Telecorp engaged in the practice; instead, the question is whether there is a

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 common issues predominate over the myriad individual issues of fact and law surrounding each

 Plaintiff’s claim.

              The Ninth Circuit’s decision in Dukes does not contradict Fifth Circuit precedent on these

 questions. The Dukes decision emphasizes that the commonality requirement focuses on

 common issues, rather than proof, but that the predominance inquiry is where a court must

 evaluate proof and how issues would “play out” at trial:

              Rule 23(a)(2) is about invoking common questions, see [Gen. Tel. Co. of
              Sw. v.] Falcon, 457 U.S. [147,] 158 [1982], whereas Rule 23(b)(3)
              requires a district court to formulate ‘some prediction as to how specific
              issues will play out in order to determine whether common or individual
              issues predominate in a given case,’ [In re] New Motor Vehicles
              [Canadian Export Antitrust Litig.], 522 F.3d [6,] 20 [(1st Cir. 2008)]
              (internal quotation marks omitted). We thus should not be surprised that a
              district court will have to make more precise factual determinations under
              Rule 23(b)(3) than under Rule 23(a)(2).

 Dukes, 603 F.3d at 593. Beyond these points, the Dukes decision is of limited application in this

 case because the Dukes court was not analyzing the requirements of a Rule 23(b)(3) class action

 (in which “questions of law or fact common to class members predominate over any questions

 affecting only individual members”), but rather was reviewing the certification of a class under

 Rule 23(b)(2) seeking injunctive relief as to the class as a whole. The certification order in

 Dukes was therefore not subject to the higher predominance standard applicable to Rule 23(b)(3)

 class actions. 603 F.3d at 615.

              The Supreme Court’s grant of certiorari in the Dukes case, 79 U.S.L.W. 3342, 2010 WL

 3358931 (U.S. Dec. 6, 2010), regarding the ability to seek monetary damages in a Rule 23(b)(2)

 action and “[w]hether the class certification ordered under Rule 23(b)(2) was consistent with

 Rule 23(a),” is unlikely to signal a sea change in the law regarding Rule 23(b)(3) class actions.


 contractual agreement to engage in some practice other than rounding up (such as billing in second-by-
 second increments).

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 Further, the Supreme Court is not reviewing Fifth Circuit law; the only way Dukes would impact

 this case is if the Supreme Court departs from its own precedent, upon which Fifth Circuit law

 and Telecorp’s briefing now relies. Although it is difficult to divine how the Supreme Court is

 likely to rule based upon its vague order granting certiorari, commentators speculate that the

 Supreme Court is likely to reverse the Ninth Circuit’s unprecedented grant of class certification

 in Dukes, which concerns an enormous, nation-wide, and diverse employment discrimination

 class. 9 A ruling in Dukes is unlikely to offer a lifeline to revive the Plaintiffs’ fortunes in this

 action.

              B.     Individual Issues Regarding Contract Formation and Consent Will
                     Predominate 10

              Telecorp contends that all of its customers consented to the Terms and Conditions they

 received in their boxes. Under Louisiana law, such shrinkwrap agreements are fully enforceable.

 See, e.g., O’Quin v. Verizon Wireless, 256 F. Supp. 2d 512, 515-17 (M.D. La. 2003) (enforcing

 terms and conditions included in box with cell phone even though terms were available only

 after consumers purchased phone). Under the law of this case, shrinkwrap Terms and Conditions

 documents are enforceable. Iberia Credit Bureau, Inc. v. Cingular Wireless, LLC, 379 F.3d 159,

 167 (5th Cir. 2004) (noting cellular service provider’s terms and conditions provided in the box

 with the handset are accepted by activation of the account ). 11 Because Telecorp’s contract


 9
   See, e.g., Jeffrey M. Hirsch, Assoc. Prof. of Law, University of Tennessee College of Law, “Supreme
 Court Grants Cert. on Dukes v. Wal-Mart,” accessed on January 12, 2011 at
 http://lawprofessors.typepad.com/laborprof_blog/2010/12/supreme-court-grants-cert-on-dukes-v-wal-
 mart.html.
 10
    Telecorp will focus on Plaintiffs’ arguments in favor of a Rule 23(b)(3) class action in this brief.
 Telecorp has already demonstrated that certification under Rule 23(b)(1)(A) (providing for certification of
 a mandatory limited fund class action) is inappropriate when opposed by the defendant. Rec. Doc. No.
 546 at 23-24. Plaintiffs do not seek to certify a class under Rule 23(b)(2). See Rec. Doc. No. 521-1 at 18-
 22.
 11
    Further support for the enforceability of shrinkwrap agreements in Louisiana can be found in the
 software context, where Louisiana is one of only two states to enact a statute specifically addressing the
 enforceability of shrinkwrap licenses. See La. Rev. Stat. Ann. § 51:1963 (“[a]ny person who acquires

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 documents clearly disclosed rounding up and are analogous to the documents enforced by the

 Fifth Circuit in Iberia Credit Bureau, Inc. v. Cingular Wireless, LLC, see Rec. Doc. No. 607-1 ¶

 7 & Ex. AA (Sprint terms and conditions), Telecorp moved for summary judgment dismissing

 Plaintiffs’ breach of contract claims. The Court denied summary judgment, declining to

 foreclose Plaintiffs’ claims under Aguillard at this time. However, Aguillard requires (and

 Plaintiffs encourage) an inquiry into whether the class members consented to the Terms and

 Conditions, including Telecorp’s practice of rounding up. Under Louisiana law, this inquiry

 requires evidence about what each customer knew, was told, received, and saw. La. Civ. Code

 Ann. art. 1927 (acceptance of a contract’s terms may be manifested “orally, in writing, or by

 action or inaction that under the circumstances [are] clearly indicative of consent”); Aguillard v.

 Auction Mgmt. Corp., 2004-2804 (La. 6/29/05), 908 So. 2d 1. This will create a myriad of

 individual issues.

                     1.      Every Named Plaintiff’s Experience Differed, Making Subclasses
                             Impossible

              The experiences of the various named Plaintiffs were vastly different and illustrate the

 overwhelmingly individual factual analysis required to resolve Plaintiffs’ breach of contract

 claim:

             Claudia Fontenot, who served as Plaintiffs’ sole named plaintiff for the first eight years
              of this lawsuit, claimed she received only a phone and receipt from Telecorp. Her claims
              are based on an alleged oral contract between the parties. Rec. Doc. No. 546-15
              (Wheeler Decl., Ex. N, Fontenot Dep. at 60:12-62:5).

             Charlene Guilbeau purchased her service plan from a kiosk at Sam’s Wholesale, and
              recalls the sales representative filling out the Customer Information Form and Agreement
              by hand, but has no memory of any other document. Rec. Doc. No. 546-15 (Wheeler
              Decl., Ex. Q Guilbeau Dep. at 53:14-18).



 computer software or a copy thereof shall be conclusively deemed to have accepted and agreed to all the
 terms of the license agreement for such software or copy thereof”).

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             Donald Ledet does not remember receiving any documents when purchasing his service
              plan at a SunCom store. Rec. Doc. No. 546-15 (Wheeler Decl., Ex. L, Ledet Dep. at
              38:24-39:10, 59:4-60:24).

             Kelly Landry alleges that her contract with Telecorp is a one-sided document containing
              handwritten personal information, with no specific contract terms beyond a handwritten
              notation reading “Loc. 300.” Despite Plaintiffs’ allegations to the contrary, Ms. Landry
              is the only named plaintiff who recalls receiving this document. In addition to this form,
              she also signed a postcard-sized document that referenced the terms of her rate plan,
              which include Telecorp’s policy of rounding up. Ms. Landry testified that the sales
              representative told her she would be billed by the second, rather than the minute, the only
              named plaintiff to recall a specific discussion about billing increments with a sales
              representative at the point of sale. Rec. Doc. No. 546-15 (Wheeler Decl., Ex. M, Landry
              Dep. at 28:13-29:5, 80:19-81:3, Ex. 1 at 5, 7).

             Khara Jefferson, on the other hand, said she understood the send to end billing policy
              when she purchased her service plan. Rec. Doc. No. 546-15 (Wheeler Decl., Ex. U,
              Jefferson Dep. at 18:12-19:14).

             Ella Linzer ordered her service plan by telephone. As a result, she did not sign any form
              agreement, but received the Terms and Conditions in the handset box. She admittedly
              failed to pay Telecorp for the cellular service she used and still owes Telecorp more than
              $1,000. Rec. Doc. No. 546-13 (Wheeler Decl., Ex. J, Linzer Dep. at 16:15-16, 21:11-25,
              27:20-29:24, Ex. 4, 76:2-77:12, & Ex. 10).

             Molly Segura purchased her service plan at a Circuit City store. She acknowledges
              receiving Telecorp’s Welcome Guide, and is one of the very few named plaintiffs who
              recalls signing a Telecorp Customer Information Form and Agreement. Ms. Segura also
              received credits from Telecorp, and has likely already been compensated in full for her
              alleged injuries in this case. Rec. Doc. No. 546-14 (Wheeler Decl., Ex. K, Segura Dep. at
              13:5-14, 31:7-32:2, 55:12-22, 75:18-76:9, Ex. 5).

             Jeremiah Magnon also received a credit adjustment from Telecorp. He is another one of
              the very few named plaintiffs who recalls receiving a Customer Information Form and
              Agreement. Rec. Doc. No. 546-15 (Wheeler Decl., Ex. P, Magnon Dep. at 26:14-22,
              Ex. 4, 43:13-45:3, 54:20-55:4, 58:8-10, Ex. 11); Declaration of Kelly Ransom submitted
              herewith (Magnon Dep. at 47:1-6).

             Jerry Myers’ two-sided contract contains a handwritten notation, reading “Cites 100,
              3000 N&W, 19.99/month,” referencing a rate plan described in a rate plan brochure. Mr.
              Myers is one of the very few named plaintiffs who recalls signing this document (which
              acknowledges and incorporates the rate plan materials). Mr. Myers signed the document
              when he added his wife to his account after receiving service for approximately 18
              months and after having full knowledge of the rounding up practice (he called customer
              service shortly after initially activating service and asked about rounding up). Moreover,
              Mr. Myers concedes that he was not financially harmed by rounding up. Rec. Doc. No.


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              546-15 (Wheeler Decl., Ex. O Myers Dep. at 8:3-9:19, 20:2-22:4, Ex. 1, 22:5-23:2,
              24:22-25:26, 67:19-24, 71:15-72:5).

             Jepera Davis has no memory of the Terms and Conditions, Welcome Guide, or any
              documents included with the handset box. Ms. Davis’s sales representative asked for her
              personal information at the point of sale, but she does not remember seeing a contract.
              Rec. Doc. No. 546-17 (Wheeler Decl., Ex. W, Davis Dep. at 46:5-47:17, 48:10-49:8,
              58:8-59:23).

             Former plaintiff Shelton Mouton acknowledges receiving and understanding the Terms
              and Conditions, and voluntarily paid his invoices with full knowledge of Telecorp’s
              policies. Mr. Mouton is also the only named plaintiff known to have signed a Service
              Agreement acknowledging his receipt and understanding of Telecorp’s Terms and
              Conditions included with the handset box. Rec. Doc. No. 546-12 (Wheeler Decl., Ex. G,
              Plaintiff Shelton Mouton’s March 18, 2010 Answers to Interrogatories and Responses to
              Requests for Production). 12

             Robert Martin was a prepaid customer with Telecorp, and did not sign any form contract.
              Unlike the post-paid customers, he did not receive a monthly invoice referencing the
              customer’s acceptance of the Terms and Conditions, and there is no record of his service
              usage or payment history. Although he does not remember signing or receiving any
              documents (other than a receipt), he concedes that he was told that each phone call he
              made would take minutes off his prepaid card. Mr. Martin continued his service with
              Telecorp after full knowledge of the policies. Rec. Doc. No. 546-15 (Wheeler Decl.,
              Ex. R Martin Dep. 21:2-13, 23:15-24:4, 31:16-32:9, 50:15-51:12, 66:10-12, 98:4-99:10,
              108:12-17).

             Ronnie Boyde was also a prepaid customer who has no standard form contract or
              monthly invoices but whose pre-paid card made reference to the Terms and Conditions
              brochure. Rec. Doc. No. 546-16 (Wheeler Decl., Ex. S, Boyde Dep. at 14:25-17:22,
              23:12-25:12, Ex. 1, 52:24-54:11, 68:11-69:20, Ex. 8).

              The differences between class representatives would make any attempt to divide the class

 into subclasses impossible. There would be no way to account for all the differences among the

 12
   While Shelton Mouton is no longer a named plaintiff, his experience is probative to the predominance
 analysis. Just like the remaining named plaintiffs, Mr. Mouton provides a real-world example of the kind
 of individual issues that will arise during an attempt to try this case as a class action. Castano, 84 F.3d at
 744. Mr. Mouton signed a short-form contract acknowledging his receipt of the Welcome to SunCom
 and Terms and Conditions brochures, and is thus subject to defenses based on his consent under Aguillard
 and based on the voluntary payment doctrine. His experience shows that individual issues of causation,
 contract formation, and consent will predominate over any attempt to show that Telecorp breached its
 contract with the entire alleged class. See, e.g., Gawry v. Countrywide Home Loans, Inc., 640 F. Supp. 2d
 942, 955 (N.D. Ohio 2009) (concluding individual issues predominated because certain absent class
 members may be subject to the defense of lack of standing, which would require inspection of those class
 member’s individual circumstances).

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 class members in the formation of their contract, and specifically whether there was something in

 that process that constituted a promise to bill by the second: what they were told, what they

 understood, what they read, what documents constituted their contract, what handwritten notes

 were made on such documents, what oral promises were made, and what acknowledgements

 they signed. The class representatives alone would give rise to dozens of subclasses, i.e., a

 subclass of pre-paid customers who received the Terms and Conditions; a subclass of post-paid

 customers who signed and returned to Telecorp a postcard acknowledging the Terms and

 Conditions; a subclass of post-paid customers who signed the standard form agreement, thus

 acknowledging they read their rate plan (which disclosed rounding up); a subclass of post-paid

 customers who claim they received nothing and were told nothing; a subclass of post-paid

 customers who received the one-sided customer document Ms. Landry received; a subclass of

 post-paid customers who received nothing but were told something about how calls would be

 measured; etc. Each of those subclasses would have to be further divided depending on whether

 each class member, like Mr. Myers or Ms. Jefferson, understood the rounding up policy when

 they received their phone. Each of those subclasses would have to be further divided depending

 on whether the class members received credits for amounts they were allegedly over-charged or

 whether they, like Ms. Linzer, still owe sums to Telecorp. Subclasses clearly cannot solve

 Plaintiffs’ problems with commonality and predominance.

              Moreover, several of the possible subclass definitions on their face defy class treatment,

 requiring individual inquiry into what each customer was told, what notations were made, and

 what they knew from prior experience. Plaintiffs’ experiences are too diverse to be certified.

 Mann v. GTE Mobilnet of Birmingham Inc., 730 So. 2d 150 (Ala. 1999); see also Rec. Doc. No.

 546 at 15-16 (citing cases).



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                     2.     Plaintiffs’ Cursory Evidence Is Insufficient to Meet Their Burden

              Plaintiffs’ and their experts’ argument that no one would have consented to rounding up

 is both factually inaccurate and fails to satisfy the rigorous analysis of whether common issues

 predominate. This analysis requires an examination of the merits to the extent they overlap with

 class certification questions. Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160-61 (1982);

 Castano v. Am. Tobacco Co., 84 F.3d 734, 744 (5th Cir. 1996).

              Rounding up was and is ubiquitous to telecommunications service, and has been

 recognized as a standard billing practice by the FCC and multiple courts. The FCC has approved

 rounding up, rejecting a consumer’s argument that rounding up was unreasonable or unfair,

 emphasizing that billing in whole minute increments is “the most common billing practice.” In

 re Petition for Declaratory Ruling on Issues Contained in Count I of White v. GTE Class Action

 Complaint, 16 F.C.C.R. 11558, ¶ 19 (2001). If anything, reasonable customers should expect

 rounding, not the other way around: “no reasonable customer could actually believe that each

 and every phone call she made terminated at the end of each full minute, [and thus] must be

 aware that MCI charges in full-minute increments only.” Alicke v. MCI Commc’ns Corp., 111

 F.3d 909, 912 (D.C. Cir. 1997); see also Porr v. NYNEX Corp., 660 N.Y.S.2d 440, 447 (App.

 Div. 1997) (“[N]o reasonable consumer would have been deceived into believing that he was

 being billed by the second, when his monthly statements contained no charges for calls of less

 than a full minute”); Mobley v. AT&T Corp., 717 So. 2d 367, 368 (Ala. 1998) (same); Marcus v.

 AT&T Corp., 938 F. Supp. 1158, 1174 (S.D.N.Y. 1996) (“AT& T’s failure to disclose the exact

 duration of the calls on its bills also is not materially misleading because no consumer

 reasonably could believe that a designation of a call in whole minutes accurately reflects the

 length of that call”); Weinberg v. Sprint Corp., 173 N.J. 233, 244-45, 801 A.2d 281 (2002)

 (same).

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              Thus, even putting aside the various ways rounding up was disclosed and the absence of

 any promise to bill by the second, any customers with prior wireless service (or even prior long-

 distance service) would have known about rounding up, presumably would have expected

 Telecorp to round up, and therefore consented to the practice. See, e.g., Rec. Doc. No. 546-18

 (Wheeler Decl., Ex. Y, Adams Dep. at 38:5-40:13). Indeed, the declarations signed by a few of

 the named plaintiffs and their experts demonstrate the lack of commonality and predominance.

 Some named plaintiffs and the experts apparently had an understanding entirely different than

 some other named plaintiffs and courts throughout the nation, which creates an individual issue

 of fact among class members.

              However, the assertion of a few of the named Plaintiffs that they “understood” they

 would receive unrounded minutes, even if true, does not create a contractual promise by

 Telecorp to bill in one second increments. A breach of contract claim founded on one party’s

 “understanding” of a contract but unsupported by any contract term should fail as a matter of

 law. But even if a subjective “understanding” could be the basis for a breach of contract claim,

 this would create yet another individualized issue of fact that would preclude class certification.

 While some class members might have had this understanding, many would not. What any class

 member understood would vary based on his or her prior experience with wireless carriers, what

 materials were reviewed, what he or she was told, and any number of other surrounding facts and

 circumstances. Plaintiffs’ efforts to suggest that common issues will predominate have thus only

 managed to raise more individual issues.

                     3.     Individual Issues Regarding the Meaning of Contract Terms Would
                            Predominate at Trial

              Telecorp’s rate plans and Terms and Conditions expressly provide for rounding up.

 Plaintiffs point to handwritten notes on the front page of contractual documents received by two


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 (and by no means all) customers, such as “Loc. 300” and “Cities 100,” as evidence of a promise

 to bill by the second. Rec. Doc. No. 577-3 at 2 & 4. Plaintiffs suggest that each of these

 documents serve as a basis for a subclass. The Court’s denial of Telecorp’s motion for summary

 judgment indicates a question of fact about the terms of each customer’s contracts. Resolving

 this question of fact and determining the content of each customer’s contract will also raise

 individual issues that cannot be tried on common evidence.

              It is not enough for Plaintiffs to prove a common practice in a breach of contract case.

 They must also be able to prove the contract’s terms on a class-wide basis. The burden is on

 Plaintiffs. Yet when terms of written contracts are ambiguous, Louisiana allows consideration of

 extrinsic evidence. La. Civ. Code Ann. art. 1848; Campbell v. Melton, 2001-2578 (La. 5/14/02),

 817 So. 2d 69, 75 (considering parol evidence to determine intent of parties where contract term

 is ambiguous); Dixie Campers, Inc. v. Vesely Co., 398 So. 2d 1087 (La. 1981) (same). To

 interpret the contract and decide whether rounding up constituted a breach, the trier of fact will

 need to decide what the terms of the contract are and what they mean. This analysis — like the

 analysis of consent — will require looking at the customer’s individual circumstances to

 determine the parties’ intent and the meaning of contract terms.

              If Plaintiffs’ cause of action turns on each plaintiffs’ “understanding” or on the meaning

 of handwritten notes on certain contracts (for those plaintiffs who, unlike Claudia Fontenot and

 others, had such a signed document) made by individual sales representatives, then Rule 23 does

 not permit considering all claims together. Handwritten notes made by numerous different sales

 representatives are by definition not common. Uncovering what each notation means will

 require evidence about what the sales representative told the customer, what the customer

 understood, and the language in the customer’s rate plan, which is expressly referenced and



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 incorporated in the standard form agreement and Terms and Conditions. If this inquiry was

 sufficiently unclear that summary judgment was inappropriate, then it is certainly not clear

 enough to resolve on the basis of two customers who received documents with handwritten notes

 and several other customers who do not know what they received or who have testified they did

 not receive those documents. Individual issues predominate when the terms of each class

 member’s contract differ. Mann v. GTE Mobilnet of Birmingham Inc., 730 So. 2d 150, 153 (Ala.

 1999) (if contract was not clear, class could not be certified because court would have to

 “question every putative class member about his or her understanding of the [contract term] … to

 decide whether that customer’s contract was breached”); see also Rec. Doc. No. 546 at 15-16

 (citing cases).

                     4.      Individual Issues Will Predominate When Trying Telecorp’s Defenses

              When deciding class certification, courts must also consider how defenses will be

 resolved. Castano v. Am. Tobacco Co., 84 F.3d 734, 740 (5th Cir. 1996). The Court has

 recognized that some customers will need to arbitrate their claims. But other defenses in this

 case raise individual issues that will have to be adjudicated at trial.

              The existence of damage or injury is an essential element of a breach of contract claim.

 See La. Civ. Code Ann. art. 2315; Long v. Charles Kaufman Co., 122 La. 281, 47 So. 606

 (1908) (injury must be proven before damages may be awarded). Plaintiffs and their expert

 emphasize that Telecorp rounded up airtime for everyone. But the predominance inquiry also

 asks whether the trier of fact can determine whether a class member suffered injury on common

 evidence (assuming any class could be identified whose contracts included a promise to bill by

 the second). Because that is not possible, no class should be certified.

              Ella Linzer, for example, paid Telecorp less than $25 during her short term of service, but

 owed Telecorp over $1,000 when her service was terminated. Rec. Doc. No. 546-13 (Wheeler

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 Decl., Ex. J, Linzer Dep., 76:2-77:12, Dep. Ex. 10). Far from being injured she owes Telecorp a

 significant amount. Other customers, such as Mr. Magnon and Ms. Segura, received credits

 from Telecorp that may have already compensated them for any injury. Rec. Doc. No. 546-14 &

 -15 (Wheeler Decl., Exs. P, Magnon Dep. 43:13-45:3, 54:20-55:4, 58:8-10, Dep. Ex. 11, & K,

 Segura Dep. 75:18-76:9). Mr. Myers and Mr. Martin waived claims against Telecorp by adding

 lines of service, renewing their contracts, or purchasing additional prepaid cards after they knew

 of Telecorp’s policies. Rec. Doc. No. 546-15 (Wheeler Decl., Exs. O, Myers Dep. 20:2-22:4,

 Dep. Ex. 1, & R, Martin Dep. 31:16-32:9). Mr. Mouton voluntarily paid (even before renewing

 a contract) with full knowledge of the policies because he signed documents acknowledging he

 understood the Terms and Conditions. Whitehall Oil Co. v. Boagni, 255 La. 67, 76, 229 So. 2d

 702 (1969) (Louisiana recognizes general principle that “when one with full knowledge of the

 circumstances involved voluntarily pays an amount not actually owed he cannot thereafter claim

 the payment back”). Mr. Myers did not suffer injury from Telecorp’s practices because he

 admittedly never paid any charges for airtime usage in excess of his allotted minutes. Rec. Doc.

 No. 546-15 (Wheeler Decl., Ex. O, Myers Dep. 67:19-24, 71:15-72:5). This defense of lack of

 injury is highly individual and involves complicated analysis of individualized evidence. It

 requires month-by-month manual analysis of each customer’s billing statements to identify the

 customer’s rate plan(s) and applicable “buckets” and then to determine whether the customer

 exceeded his or her bucket in each particular month. It also requires analyzing each customer’s

 bills to determine whether charges were paid, unpaid, or credited off of a subsequent bill to

 compensate for charges due to rounding up. Rec. Doc. No. 546-28, Voth Declaration ¶¶ 7-25.

              Rule 23 does not allow the Court to ignore these issues. Barring Telecorp from

 presenting its defenses would violate Telecorp’s due process rights. Whether customers owed



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 money or renewed service or made payment with full knowledge of rounding will also require

 individual evidence unsuitable to class treatment.

              C.     The Named Plaintiffs Are Not Typical of the Putative Class

              Typicality requires the named plaintiffs’ claims, defenses and experiences to be typical of

 the class. Basco v. Wal-Mart Stores, Inc., 216 F. Supp. 2d 592, 598 (E.D. La. 2002). Plaintiffs

 here are atypical.

              There are profound differences between the various class representatives (i.e., Mr. Myers

 renewed his contract after understanding that Telecorp rounded up, Ms. Linzer owes money to

 Telecorp to this day). Plaintiffs have alleged (it appears) two classes of customers: one that

 received a form document with Terms and Conditions, and one that received a form without

 Terms and Conditions. Several named plaintiffs, however, testified they received nothing from

 Telecorp but the phone and a receipt. Rec. Doc. No. 546-15 (Wheeler Decl., Exs. N, Fontenot

 Dep. 60:12-62:5 & R, Martin Dep. 108:12-17). Others cannot recall what they received. Rec.

 Doc. No. 546-15 (Wheeler Decl., Exs. L, Donald Ledet Dep. 38:24-39:10, M, Landry Dep. 35:7-

 14, Q, Guilbeau Dep. 11:16-24, 53:14-18, & R, Martin Dep. 23:15-24:4, 98:4-99:10, 108:12-17).

 These individuals do not fit within either definition proposed by Plaintiffs, and they cannot

 represent the customers within those putative classes. 13 It is also clear that the named plaintiffs

 are demonstrably different from some of the absent class members they purport to represent. For

 example, Shelton Mouton, the former named plaintiff who voluntarily dismissed his claims,

 signed and returned a card that stated:

              this Service Agreement shall be read in connection with the terms and
              conditions included with your handset and posted on our website at
              www.SunCom1.com as well as any rate plans, promotional materials or

 13
   Moreover, there is only scant evidence regarding use of the form that lacked Terms and Conditions.
 Providing such a form would contradict Telecorp’s policy to provide Terms and Conditions to all
 customers. Triche Decl. ¶ 22; Affidavit of Forrest Ashworth.

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              other documentation provided to you by SunCom (collectively the ‘Sales
              Information’), the terms of which are incorporated herein by reference. If
              you would like additional copies of the Sales Information please contact
              SunCom Customer Care or visit any SunCom sales location. . . . I have
              read and understood the Welcome to SunCom and Terms and
              Conditions brochures contained in my handset box.

 Rec. Doc. No. 546-12 (Wheeler Decl., Ex. G) (box checked and postcard signed by Shelton

 Mouton) (emphasis added).

              Other class representatives who did receive materials from Telecorp are not typical

 because their experiences raise unique defenses. Ms. Linzer admittedly declined to pay Telecorp

 for her service and owes more than $1,000. Rec. Doc. No. 546-13 (Wheeler Decl., Ex. J, Linzer

 Dep. 76:2-77:12, Dep. Ex. 10). Mr. Myers, who admits Telecorp did not financially harm him,

 similarly raises unique issues and cannot represent a class of subscribers who allege Telecorp did

 injure them. Rec. Doc. No. 546-15 (Wheeler Decl., Ex. O, Myers Dep. 67:19-24, 71:15-72:5).

              The variety of experiences among the 15 class representatives shows only that there is

 nothing “typical” about any of their claims.

 III.         CONCLUSION

              Despite multiple opportunities to state an actionable claim that can be certified as a class

 action, Plaintiffs can show no breach of contract and cannot satisfy key elements of Rule 23,

 including commonality, predominance and typicality. Their motion to certify a class should be

 denied.




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                                          Respectfully submitted,

                                          /s/ Elizabeth S. Wheeler
 KELLY TWISS NOONAN (WA Bar 19096)        JOSEPH E. LEBLANC, JR., T.A. (#8199)
 MATHEW L. HARRINGTON (WA Bar 33276)      LEBLANC BLAND, P.L.L.C.
 STOKES LAWRENCE, P.S.                    1717 St. James Place, Ste. 360
 800 Fifth Avenue, Suite 4000             Houston, Texas 77056
 Seattle, WA 98104-3179                   Telephone: (713) 627-7100
 Telephone: (206) 892-2109                Facsimile: (713) 627-7248
 kelly.noonan@stokeslaw.com               jleblanc@leblancbland.com
 mathew.harrington@stokeslaw.com
                                          and

                                          ELIZABETH S. WHEELER (#21148)
                                          LEBLANC BLAND, P.L.L.C.
                                          909 Poydras Street, Ste. 1860
                                          New Orleans, Louisiana 70112
                                          Telephone: (504) 528-3088
                                          Facsimile: (504) 586-3419
                                          ewheeler@leblancbland.com

                                          Attorneys for Defendant
                                          Telecorp Communications, Inc.




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                                      CERTIFICATE OF SERVICE

              I hereby certify that on January 14, 2011, the above and foregoing pleading was

 electronically filed using the CM/ECF system which will send a notice of electronic filing to

 counsel for all parties to this proceeding.

                                                          s/ Elizabeth S. Wheeler




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